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                         UNITED STATES DISTRICT COURT

                             DISTRICT OF MINNESOTA


                                             Case No. 0:18-mc-00076-WMW-KMM
 IN RE BANC OF CALIFORNIA
 SECURITIES LITIGATION
                                                    [PROPOSED] ORDER
                                                DENYING MOTION TO COMPEL
                                                       PRODUCTION




         The Court, having considered Steven A. Sugarman’s Motion to Compel

 Production, all supporting declarations and pleadings and papers filed in this action,

 hereby denies Steven A. Sugarman’s Motion to Compel Production in its entirety.

         IT IS SO ORDERED.

 Dated: _____________________            BY THE COURT:



                                         The Honorable Kate M. Menendez
                                         U.S. Magistrate Judge

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